                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                        )
                                                )   No. 3:11-00012-8
v.                                              )   Judge Sharp
                                                )
GREGORY BROOKS                                  )
                                                )


                                              ORDER

       Pending before the Court is the United States’ Motion to Continue Sentencing (Docket No.

1884) to which the Defendant does not oppose.

       The motion is GRANTED and the sentencing set for October 28, 2013, is hereby rescheduled

for Friday, January 10, 2014, at 10:00 a.m.

       IT IS SO ORDERED.



                                                    ________________________________
                                                    KEVIN H. SHARP
                                                    UNITED STATES DISTRICT JUDGE




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